                      IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF OREGON
                                 PORTLAND DIVISION

IN RE:                                          ) BANKRUPTCY CASE
                                                )
MARK GORDON HERON,                              ) NO.: 22-31614
MARY KATHLEEN HERON,                            )
                                                ) CHAPTER 13
         Debtors.                               )
                                                )
                                                )
                                                )

                               OBJECTION TO CONFIRMATION

         COMES NOW NewRez LLC d/b/a Shellpoint Mortgage Servicing (hereinafter known as

"Creditor"), a secured creditor holding a deed of trust against the real property commonly known

as 1749 22Nd Street, Hood River, OR 97031 (the "Property"), and for the reasons stated below,

objects to confirmation of Debtors' Chapter 13 plan (Doc. No. 23) (the "Plan").

                                                 1.

         Debtor's Plan proposes to cure arrears due to Secured Creditor through a sale of the

Property within fifty-five (55) months of the date of plan confirmation, which is speculative date

for consummation of the sale. Regardless, Debtor's proposed Plan is wholly dependent on the

sale of real property, which is speculative and circumstantial in itself. Therefore, Secured

Creditor objects to the proposed Plan as it does not provide Secured Creditor with adequate

assurances that the Plan can be completed as proposed nor is Secured Creditor being provided

with adequate protection.

                                                 2.

         Creditor has not yet filed a proof of claim but will do so prior to the expiration of the

claims deadline. According to preliminary figures, the arrearage is $34,545.35.




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                                                   3.

       Further, Creditor objects to the treatment of its lien for the following reason, including

but not limited to, that Debtors are not the borrower on the Note or Mortgage. Creditor does not

consent to the treatment of its claim as proposed by the Debtor's Plan.

                                                   4.

       Creditor objects to the proposed sale of the Property.

                                                   5.

       Creditor reserves the right to raise the failure of Debtors to have made post-petition

mortgage payments if at the time of the confirmation hearing that appears to be the case.



       WHEREFORE, Creditor prays that the Court will:

           1. deny confirmation,

           2. award reasonable attorney’s fees, and

           3. grant such other and further relief as is just and equitable.


                                               /s/Linda St. Pierre
                                               Linda St. Pierre
                                               Oregon BAR NO. 200446
                                               Attorney for Creditor
                                               McCalla Raymer Leibert Pierce, LLC
                                               1544 Old Alabama Road
                                               Roswell, GA 30076
                                               860-240-9156
                                               /s/Linda St. Pierre




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                                                          Bankruptcy Case No.:     22-31614

                                                          Chapter:                 13




                            CERTIFICATE OF SERVICE

       I, Linda St. Pierre, of MCCALLA RAYMER LEIBERT PIERCE, LLC, 1544
Old Alabama Road, Roswell, GA 30076, certify:

      That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the date below, I served a copy of the within OBJECTION TO
CONFIRMATION filed in this bankruptcy matter on the following parties at the
addresses shown, by regular United States Mail, with proper postage affixed, unless
another manner of service is expressly indicated:

Mark Gordon Heron
1749 22nd Street
Hood River, OR 97031

Mary Kathleen Heron
1749 22nd Street
Hood River, OR 97031

CHRISTOPHER N COYLE                        (served via ECF Notification)
319 SW Washington St #520
Portland, OR 97204-2690

Wayne R. Godare, Trustee                   (served via ECF Notification)
222 SW Columbia Street
Suite 1700
Portland, OR 97201




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I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.


Executed on:   01/05/2023       By:        /s/Linda St. Pierre
                      (date)               Linda St. Pierre Oregon BAR NO. 200446
                                           Attorney for Creditor




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